                                                 Case 3:21-cv-09944-JD             Document 64            Filed 04/02/25           Page 1 of 2

   UNITED STATES DISTRICT COURT                                                                                                                     COURT USE ONLY
  NORTHERN DISTRICT OF CALIFORNIA                                         BILL OF COSTS                                              OBJECTION DEADLINE:
     Form CAND 133 (Rev. 10/2021)                    Please follow the instructions on page 3 when completing this form.
                                                                                                                                     OBJECTION FILED: YES               NO
1. CASE NAME                                                  2. CASE NUMBER                3. DATE JUDGMENT ENTERED               4. PARTY AGAINST WHOM JUDGMENT WAS ENTERED
Ultima Mobile Bottling, Inc v. Nationwide                     3:21-cv-09944-JD              March 19, 2025                         Plaintiff Ultima Mobile Bottling, Inc
Agribusiness Ins. Co., et al.

5. NAME OF CLAIMING PARTY                                     6. NAME OF ATTORNEY FOR CLAIMING PARTY (or indicate “PRO SE”)        7. PHONE AND EMAIL OF CLAIMING PARTY, IF PRO SE
Defendant Nationwide Agribusiness Insurance                   Mengmeng Zhang (SBN 280411)
Company

8. REQUEST TO TAX THE FOLLOWING AS COSTS:                                                                                     (SHADED AREAS ARE FOR COURT USE ONLY)

           COST ITEM                    AMOUNT CLAIMED        LIST SUPPORTING DOCUMENTATION              Amt Allowed             Disallowed                 Disallowance Re a son

a. FEES OF THE CLERK AND FOR SERVICE OF PROCESS

 Filing Fees and Docket Fees,                            Exhibit 1 - Invoices of fees paid in
 Civil LR 54-3(a)(1), 18 U.S.C.        $868.35           State Court; Exhibit 2 - ECF receipt
 1923                                                    of Federal Removal fee paid
 Service of Process, Civil LR 54-
 3(a)(2)

b. REPORTERS’ TRANSCRIPTS

 Transcripts for appeal, Civil LR
 54-3(b)(1)

 Rulings from the bench, Civil LR
 54-3(b)(2)

 Other transcripts (by order or
 stipulation), Civil LR 54-3(b)(3)

c. DEPOSITIONS

 Deposition transcript/video
 recording, Civil LR 54-3(c)(1)

 Deposition exhibits, Civil LR 54-
 3(c)(3)

 Notary & reporter attendance
 fees, Civil LR 54-3(c)(4),(5)

d. REPRODUCTION, EXEMPLIFICATION

 Government records, Civil LR
 54-3(d)(1)

 Disclosure/formal discovery
 documents, Civil LR 54-3(d)(2)

 Trial exhibits, Civil LR 54-3(d)(4)
                                                  Case 3:21-cv-09944-JD                      Document 64                  Filed 04/02/25               Page 2 of 2

 Visual aids, Civil LR 54(d)(5)

e. WITNESS FEES AND EXPENSES

 Total from itemized Witness
 Fees worksheet,* Civil LR 54(e)

f. COURT-APPOINTED PROFESSIONALS, INTERPRETERS

 Fees for special masters &
 receivers, Civil LR 54-3(f)

 Court-appointed experts,
 28 USC § 1920(6)

 Interpreters and special
 interpretation services, 28 USC
 §§ 1828, 1920(6)

g. MISCELLANEOUS COSTS

 Costs on appeal, Civil LR 54-
 3(g) & FRAP 39

 Costs of bonds and security,
 Civil LR 54-3(h)

TOTAL AMOUNT                                       $ 868.35                                                          $                         $

9. ADDITIONAL COMMENTS, NOTES, ETC:



10. AFFIDAVIT PURSUANT TO 28 USC § 1924: I declare under penalty of perjury that the foregoing                11. Costs are taxed in the amount of                           and included in the judgment.
costs are correct and were necessarily incurred in this action and that the services for which fees have
been charged were actually and necessarily performed.                                                         Kathleen M. Shambaugh
Name of Attorney/Claiming Party:                                                                              Acting Clerk of Court

SIGNATURE: /s/ Mengmeng Zhang                                              DATE: 04/02/2025                   BY:                                           , Deputy Clerk                DATE:



                                              *WITNESS FEES/EXPENSES COMPUTATION WORKSHEET FOR ITEM 8.e OF REQUEST TO TAX COSTS (28 USC 1821)

                                                                                 ATTENDANCE                                  SUBSISTENCE                                 TRAVEL/MILEAGE                 TOTAL COST
      WITNESS NAME , CITY AND STATE OF RESIDENCE
                                                                                                                                                                 Travel Cost or
                                                                               # Days                $ Cost               # Days                   $ Cost                               $ Cost            Per Witness
                                                                                                                                                                  # Miles POV




                                                                                                                               TOTAL WITNESS FEES/EXPENSES                                          $
